
W. SHARP, Judge.
Judith Sigafoos, the natural mother, appeals from an order adjudicating her minor child to be dependent. She argues that the evidence presented at trial was insufficient to support an adjudication of dependency, and further, that the trial court erred because its order fails to state the factual basis underlying its finding of dependency, as required by section 39.409(3), Florida Statutes (1987). The absence of such finding is reversible error. In the Interest of C.S., 503 So.2d 417 (Fla. 1st DCA 1987); In the Interest of G.D.H., 498 So.2d 676 (Fla. 1st DCA 1986); Fitzpatrick v. State, Department of Health and Rehabilitative Services, 515 So.2d 319 (Fla. 3d DCA 1987); I.T. v. State, Department of Health and Rehabilitative Services, 532 So.2d 1085 (Fla. 3d DCA 1988); In the Interest of D.M.S., 528 So.2d 505 (Fla. 2d DCA 1988). Accordingly, we reverse the appealed order and remand for further proceedings.
REVERSED and REMANDED.
DAUKSCH and HARRIS, JJ., concur.
